






				
	NO. 12-07-00224-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


			


BENCHMARK INSURANCE COMPANY,§
		APPEAL FROM THE 273RD

APPELLANT



V.§
		JUDICIAL DISTRICT COURT OF


HOME STATE COUNTY MUTUAL

INSURANCE COMPANY,

APPELLEE§
		SHELBY COUNTY, TEXAS






MEMORANDUM OPINION


	Benchmark Insurance Company appeals the trial court's order on Home State County Mutual
Insurance Company's petition in interpleader, in which the trial court ordered that Home State be
discharged from the suit, enjoined Benchmark and Robert William Sullivan from taking any action
against Home State, and ordered that Home State be fully and finally released from any and all
liability to Benchmark and Sullivan.  Benchmark raises five issues on appeal.  We affirm.


Background


	While Sullivan was working for Silva-Tech South, Inc., his vehicle was involved in a
collision with a truck driven by Johnathan Santos, who was an employee of Willoughby Trucking,
Inc.  Sullivan requested and received workers' compensation benefits from Benchmark, which was
Silva-Tech's workers' compensation insurer.  Sullivan also pursued a third party action against,
among others, Santos and Willoughby Trucking and was ultimately awarded a significant verdict. 
Home State was responsible for a significant percentage of the amount awarded.  After the verdict,
when conflicts arose between Benchmark and Sullivan, Home State filed an interpleader action. 
Upon determining Benchmark's statutory lien and Wheeler's attorney's fees and expenses, the trial
court rendered judgment in the interpleader action.  This appeal followed.


Discussion

	In its second, third, and fourth issues, Benchmark argues that the trial court erred in finding
that the amount of Benchmark's statutory lien was $190,465.10.  In its first issue, Benchmark argues
that the trial court erred in finding that Wheeler was entitled to one-third of the lien as attorney's fees
because Wheeler sought to reduce the amount of Benchmark's lien and failed to notify Benchmark
that Sullivan received monies from third parties.  In a separate opinion, we addressed and overruled
Benchmark's first, second, third, and fourth issues.  See Benchmark Ins. Co. v. Sullivan, No. 12-07-00223-CV, 2009 WL __, at *_ (Tex. App.-Tyler April 30, 2009, no pet. h.).  

	In its fifth issue, Benchmark argues that the trial court's abuse of discretion in determining
its statutory lien and Wheeler's attorney's fees resulted in an improper order on Home State's
petition in interpleader.  Having previously determined in our analysis of Benchmark's first four
issues that the trial court did not abuse its discretion, we hold that the trial court's judgment in the
underlying interpleader action was not erroneous.  Benchmark's fifth issue is overruled.


Disposition


	We affirm the trial court's judgment.



								    BRIAN HOYLE   

									   Justice



Opinion delivered April 30, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.





(PUBLISH)


